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                           IN THE UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                            Case No.

                         Plaintiff,                    INDICTMENT

          v.                                           Viols.

  SEZGIN BARAN KORKMAZ,                                Count 1- 18 U.S.C. § 1956(h) (Conspiracy
                                                       to Commit Money Laundering Offenses)
                          Defendant.
                                                       Count 2 -18 U.S.C. § 1512(c)(2)
Case: 2:21-cr-00140                                    (Obstruction of an Official Proceeding)
Assigned To: Campbell, Tena
Assign. Date: 03/31/2021                               Forfeiture


          The Grand Jury charges:

          At times relevant to this Indictment:

                                       Defendant and His Entities

           1.     Defendant SEZGIN BARAN KORIZMAZ ("KORKMAZ") was a resident of

   Turkey, was the 100% owner of the following entities, and controlled bank accounts maintained

   in the names of these entities in the following countries:
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                          SBK Holding A.S.                         Turkey
             Biofarma Ilac San. ve Tic. A.S. ("Biofarma")
                                                                   Turkey
                      also known as Bio harma
                            Isanne S.a.r.1.                     Luxembourg

                  Other Bank Accounts Controlled by Defendant Korkmaz

       2.      Defendant KORKMAZ also controlled, either directly or through associates, other

bank accounts in Turkey maintained in the following names:

               Komak Isi Yalitim Sistemleri Sanayi ve Tic. L.S. ("Komak");

               Setap Teknoloji Sistemleri Sanayi ve Tic. A.S. ("Setap");

               Blane Teknoloji Sistemleri Sanayi ve Tic. A.S. ("Blane");

               Mega Varlik Yonetim A.S. ("Mega Varlik");

               Jacob Kingston; and

               Alptekin Yilmaz.

                                  Other Persons and Entities

        3.     Jacob Kingston was a resident of Utah and owned 50% of Washakie Renewable

Energy, LLC ("Washakie"). He was the chief executive officer of Washakie.

        4.     Isaiah Kingston was a resident of Utah and owned 50% of Washakie. He was the

chief financial officer of Washakie.

        5.     Washakie was a limited liability company with corporate offices in Salt Lake

City, Utah. As of January 7, 2013, Washakie described itself on its website as "Utah's largest

producer of clean burning and sustainable biodiesel." As ofNovember 10, 2013, Washakie

described itself on its website as "the largest producer ofbiodiesel and chemicals in the

intermountain west."

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        6.     United Fuel Supply ("UFS") was a limited liability company with corporate

offices in Salt Lake City, Utah. UFS was controlled by Jacob Kingston and Isaiah Kingston.

        7.     Levon Termendzhyan, also known as Lev Asian Dermen, was a resident of

California. He had an interest in or controlled several fuel-related companies in the United

States, including:

               Noil Energy Group Inc., a corporation with offices in California
                  ("Noil Energy Group");

               Speedy Lion Renewable Fuel Investments LLC
                  (formerly Speedy Lion Renewable Fuel Investments Inc.)
                  ("Speedy Lion"); and

               G.T. Energy LLC ("G.T. Energy").

        8.      SBK Holdings, Inc., later SBK Holdings USA, Inc. ("SBK Holdings USA"), was

a corporation formed in California in December 2013 initially owned by Levon Termendzhyan

and Jacob Kingston. Levon Termendzhyan controlled SBK Holdings USA's bank accounts and

became the sole owner of the entity in or around September 2014.

                          Proceeds From Specified Unlawful Activity

        9.      The term "proceeds from specified unlawful activity" means any property derived

from or obtained or retained, directly or indirectly, through specified unlawful activity, including

the proceeds of such activity. "Specified unlawful activity" includes mail fraud in violation of

18 U.S.C. § 1341 and conspiracy to commit mail fraud in violation of 18 U.S.C. § 1349.

         10.    Beginning in or about the fall of 2011 and continuing up to at least February

2016, Jacob Kingston, Isaiah Kingston, and Levon Termendzhyan conspired to commit mail

fraud by scheming to fraudulently obtain U.S. Treasury checks from the IRS by filing false

claims for refundable renewable fuel credits. Pursuant to the scheme, Jacob Kingston, Isaiah

Kingston, and Levon Termendzhyan caused Washakie Renewable Energy and United Fuel


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Supply to file over $1 billion of false claims with the IRS. As a result of these false claims, the

IRS issued U.S. Treasury checks to Washakie totaling approximately $470 million that Washakie

and UFS were not entitled to receive. This scheme is hereinafter referred to as the "Washakie

Mail Fraud Scheme."

        11.      Jacob Kingston and Isaiah Kingston, at the direction of Levon Termendzhyan and

Defendant KORKMAZ, caused Washakie to wire transfer approximately $133 million of fraud

proceeds from the Washakie Mail Fraud Scheme to bank accounts in Luxembourg and Turkey

that were controlled by Defendant KORKMAZ.

                                           Countl
                                      18 U.S.C. § 1956(h)
                      (Conspiracy to Commit Money Laundering Offenses)

        12.      Paragraphs 1-11 are incorporated by reference and re-alleged as though fully set

forth herein.

                                           The Conspiracy

        13.      From in or about March 2013, and continuing at least through in or about

December 2020, in the Central Division of the District of Utah and elsewhere, the defendant,

                                  SEZGIN BARAN KORKMAZ,

did knowingly combine, conspire, and agree with other persons both known and unknown to the

Grand Jury, including Levon Termendzhyan, a co-conspirator not named as a defendant herein,

to commit offenses against the United States in violation of Title 18, United States Code, Section

1956, that is:

        a.       to transport, transmit, and transfer, and attempt to transport, transmit, and transfer

a monetary instrument or funds involving the proceeds of specified unlawful activity, that is, the

proceeds of the Washakie Mail Fraud Scheme, in violation of Title 18, United States Code,



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Section 1341, from a place in the United States to or through a place outside the United States or

to a place in the United States from or through a place outside the United States, in violation of

Title 18, United States Code, Section 1956(a)(2)(B)(i), knowing that the funds involved in the

transportation, transmission and transfer represented the proceeds of some form of unlawful

activity and knowing that such transportation, transmission, and transfer was designed in whole

or in part to conceal and disguise the nature, location, source, ownership, and control of the

proceeds of specified unlawful activity; and

       b.      to knowingly conduct and attempt to conduct financial transactions affecting

interstate commerce, which transactions involved the proceeds of specified unlawful activity,

that is, the proceeds of the Washakie Mail Fraud Scheme, in violation of Title 18, United States

Code, Section 1341, knowing that the transactions were designed in whole or in part to conceal

and disguise the nature, location, source, ownership, and control of the proceeds of said specified

unlawful activity, in violation of Title 18, United States Code, 1956(a)(l)(B)(i), and that while

conducting or attempting to conduct such transactions, lmew that the property involved in the

transactions represented the proceeds of some form of unlawful activity.

                                       Manner and Means

         14.   Among the manner and means by which Defendant KORKMAZ and his co-

conspirators would and did carry out the objectives of the conspiracy were the following:

                a.     They transferred, and caused to be transferred, proceeds of the Washakie

Mail Fraud Scheme ("Fraud Proceeds") from Washakie's banlc accounts in the United States to

banlc accounts located in Turkey and Luxembourg that were controlled by Defendant

KORKMAZ.

                b.     After transferring Fraud Proceeds to banlc accounts in Turkey and



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 Luxembourg, they transferred, and caused to be transferred, Fraud Proceeds back to the United

 States to bank accounts in Los Angeles that were controlled by Levon Termendzhyan.

                  c.     They used bank accounts located in Turkey, including accounts in the

 names ofBiofarma and Alptekin Yilmaz, to transfer Fraud Proceeds for the purpose of

 concealing and disguising the true nature and source of the funds being transferred.

                  d.     They used bank accounts located in Turkey, including accounts in the

 names of Jacob Kingston and companies owned in Kingston's name, including Setap and Mega

 Varlik, to transfer Fraud Proceeds for the purpose of concealing and disguising the true nature

 and source of the funds being transferred.

                  e.     They had Jacob Kingston execute powers of attorney forms providing

 control over his bank accounts and companies in Turkey to Defendant KORKMAZ's associates,

 through which Defendant KORKMAZ controlled these accounts and companies.

                  f.     They characterized the transfers of Fraud Proceeds as loans, share

 purchases, and loan paybacks for the purpose of concealing and disguising the true nature and

 source of the funds being transferred.

                  g.     They transferred, and caused to be transferred, Fraud Proceeds from bank

 accounts in the United States to bank accounts in Turkey and Luxembourg, and from bank

 accounts in Turkey and Luxembourg to bank accounts in the United States, including at least 30

 transfers totaling $301,315,477 on the dates and in the amounts set forth in the table below

 between the listed sender and recipient:


                                                                   -._. ._-Am()~~!$J#!        <Xnf_o_:_•~_rtC_S.e_nt
                                                                           _ fo ']Jtir~~y/ -:
                                                                        :Lli:#riibourg
                                                    Komak
A.     09/09/13        Washakie (USA)                                       $4,000,000
                                                   (Turkey)


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                                                 Komak
B.       09/09/13   Washakie (USA)                                  $5,000,000
                                                (Turkey)
                         Komak                Speedy Lion
C.       09/12/13                                                                 $4,999,964
                        (Turkey)                (USA)
                         Komak                Speedy Lion
D.       09/17/13                                                                 $1,999,964
                        (Turkey)                 (USA)
                         Komak                Speedy Lion
E.       09/19/13                                                                 $1,999,964
                        (Turkey)                 (USA)
                                          SBK Holding Turkiye
F.       11/13/13   Washakie (USA)
                                               (Turkey)
                                                                    $10,000,000

                                                 Komak
G.       12/31/13   Washakie (USA)                                  $13,000,000
                                                (Turkey)
                    Komak Isi Y alitim        Speedy Lion
H.       01/21/14                                                                 $9,000,000
                     Siste (Turkey)              (USA)
                                             Jacob Kingston
I.       03/12/14   Washakie (USA)                                  $10,000,000
                                                (Turkey)
                                         Teknoloji Sistemleri San
J.       03/24/14   Washakie (USA)                                   $4,055,700
                                            Ve Tic (Turkey)
                                         Teknoloji Sistemleri San
K.       03/24/14   Washakie (USA)                                   $5,000,000
                                            Ve Tic (Turkey)
                                         Teknoloji Sistemleri San
L.       05/09/14   Washakie (USA)                                   $2,000,000
                                            Ve Tic (Turkey)
                                         Turkiye Garanti Bankasi
M.       04/28/15   Washakie (USA)                                  $15,000,000
                                              AS (Turkey)
                                               Isanne SARL
N.       05/19/15   Washakie (USA)                                  $35,000,000
                                              (Luxembourg)
                                               Isanne SARL
0.       05/27/15    Washakie (USA)                                 $21,300,000
                                              (Luxembourg)
                     Alptekin Yilmaz           Speedy Lion
P.       06/22/15
                        (Turkey)                  (USA)
                                                                                   $6,999,950

                     Alptekin Yilmaz           Speedy Lion
Q.       06/23/15
                        (Turkey)                  (USA)
                                                                                  $12,999,950

                       Isanne SARL         SBK Holdings USA
R.       07/03/15                                                                 $15,000,000
                      (Luxembourg)              (USA)
                       Speedy Lion           Alptekin Yilmaz
s.       10/27/15
                          (USA)                 (Turkey)
                                                                     $6,999,950



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                                                                                           Amount Sen(
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                                                                                             tQUSA
                       I
                                                                            Lu.xemb9urg ·
                              Speedy Lion            Alptekin Yilmaz
T.        10/28/15                                                           $12,999,950
                                 (USA)                  (Turkey)
                            Alptekin Yilmaz           G.T. Energy
u.        11/03/15
                               (Turkey)                 (USA)
                                                                                                       $19,999,950

                                                     Jacob Kingston
V.         12/14/15         Washakie (USA)                                         $2,100,000
                                                        (Turkey)
                                                     Jacob Kingston
w.         12/28/15         Washakie (USA)
                                                        (Turkey)
                                                                                   $6,900,000

                           N oil Energy Group        SBK Holding AS
X.         02/17/16                                                                $3,885,135
                                  (USA)                 (Turkey)
                           Noil Energy Group             Karnak
Y.         03/22/16                                                                $3,810,000
                                 (USA)                  (Turkey)
                              G.T. Energy            SBK Holding AS
z.         06/09/16
                                (USA)                   (Turkey)
                                                                             $23,000,000

                            SBK Holding AS             G.T. Energy
AA.        06/10/16                                                                                    $23,000,000
                               (Turkey)                  (USA)
                           SBK Holdings USA          SBK Holding AS
BB.        10/21/16                                                                $6,000,000
                                (USA)                   (Turkey)
                           SBK Holdings USA          SBK Holding AS
cc.        11/08/16
                                (USA)                   (Turkey)
                                                                             $15,000,000

                           SBK Holdings USA          SBK Holding AS
DD.        11/08/16                                                                 $265,000
                                (USA)                   (Turkey)


                                                            Totals          $205,315,735               $95,999,742

                      h.       They used Fraud Proceeds to buy various companies, some of which they

     later sold.


                      1.       They used Fraud Proceeds to invest in various companies, including 1)

     pharmaceutical companies in Turkey called Biofarma and Munir Sahin; 2) technology

     companies in Turkey called Servus, which later became Setap, and even later Blane; 3) an asset

     management company in Turkey called Mega Varlik; 4) holding companies in Turkey called

     Bukombin and Bugaraj, which were used to acquire a Turkish airline called Borajet; and 5) an

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aviation company in Turkey named Aydin Jet, which later was changed to SBK Air.

                J.     They used Fraud Proceeds to acquire other assets, including real property

in Turkey, a hotel in Turkey, a hospital in Turkey, two hotels in Switzerland, a yacht named the

Queen Anne, an airline, a jet, and a villa and an apartment on the Bosphorus in Istanbul, Turkey.

       All in violation of Title 18, United States Code, Section l 956(h).

                                            Count2
                                     18 U.S.C. § 1512(c)(2)
                             (Obstruction of an Official Proceeding)

        15.      Paragraphs 1-11 are incorporated by reference and re-alleged as though fully set

forth herein.

        16.     From on or about April 29, 2019, to on or about April 30, 2019, in the Central

Division of the District of Utah and elsewhere, the defendant,

                                 SEZGIN BARAN KORKMAZ,

did knowingly, intentionally and corruptly obstruct, influence, and impede, and attempt to do so,

an official proceeding, to wit, United States ofAmerica v. Jacob Kingston, et al., Case No. 2:18-

cr-00365, a criminal case filed in the United States District Court for the District of Utah, by

making false statements during an interview conducted by attorneys with the U.S. Department of

Justice, Tax Division, and special agents with the Internal Revenue Service and Environmental

Protection Agency, to wit:

                 a.     KORMAZ falsely stated that Jacob Kingston never told KORKMAZ that

Kingston was under criminal investigation.

                 b.     KORK.MAZ falsely stated that he sent funds from Komak in Turkey to the

United States because Jacob Kingston called him and told him that they found cheaper

machinery in the United States and, therefore, Kingston wanted KORKMAZ to send the money



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back to the United States;

               c.      KORKMAZ falsely stated that he told Jacob Kingston that KORKMAZ

was sending the funds to Levon Termendzhyan to purchase cheaper equipment.

                d.     KORKMAZ falsely stated that he used his own money to make a $20

million loan to Levon Termendzhyan through Alptekin Yilmaz in June 2015.

                e.     KORKMAZ falsely stated that Levon Termendzhyan repaid this $20

million loan with interest three months later.

                f.     KORKMAZ falsely stated that he did not recall what the purpose-was of a

$1.2 million wire transfer sent by United Fuel Supply to Blane, and that he would ask Blane

what it was about and for supporting documents.

        All in violation of Title 18, United States Code, Section 1512(c)(2).

                       NOTICE OF INTENT TO SEEK FORFEITURE

        1.      Pursuant to 18 U.S.C. § 982(a)(l), upon conviction of any offense in violation of

 18 U.S.C. § 1956, Defendant SEZGIN BARAN KORKMAZ shall forfeit to the United States of

 America any property, real or personal, involved in such offenses, and any property traceable to

 such property. The property to be forfeited includes, but is not limited to, the following:

                a.      Any and all investments made using proceeds, and any gains from those

 investments, including investments in Biofarma Ilac San. ve Ticaret A.S., Blane Teknoloji

 Sistemleri Sanayi ve Ticaret A.S. (formerly known as Servus and as Setap Teknoloji Sistemleri

 Sanayi ve Ticaret A.S.), Mega Varlik Yonetim A.S., including investments by SBK Holding

 A.S. in Turkey;

                b.      The yacht named the Queen Anne, refitted by Pina Marin in 2018, Hull

 Number Renewal No. DLZ76014G717, International Maritime Organization No. 9704958,



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Maritime Mobile Service Identity No. 518100712, and call sign E5U3623; and

               c.     A MONEY JUDGMENT equal to the value of all property involved in the

money laundering and not available for forfeiture for one or more of the reasons listed in 21

U.S.C. § 853(p) as a result of any act or omission of the defendant.

               d.      Substitute property as allowed by 21 U.S.C. § 853(p) via 28 U.S.C. §

2461(c).

        GRAND JURY'S PROBABLE CAUSE FINDING REGARDING FORFEITURE

        The grand jury finds probable cause to believe that Defendant SEZGIN BARAN

KORKMAZ has committed the crimes specified in the above forfeiture notice and that the above

properties listed for forfeiture constitute or are derived from proceeds traceable to the Washakie

Mail Fraud Scheme described in Paragraphs 9 and 10, and thus are connected to the money

 laundering conspiracy in Count 1 as property involved in such conspiracy or property traceable

to the property involved in the conspiracy.

                                              A TRUE BILL:



                                                 REPERSON      O   THE GRAND JURY

 APPROVED:

 ANDREA T. MARTINEZ
 Acting United States Attorney

                                      .
 RICHARD M. ROL WING
 Special Assistant United States At




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